           Case 5:21-cv-00060-JGB-SHK Document 21 Filed 09/22/21 Page 1 of 19 Page ID #:267



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                    11 Management LLC

                    12

                    13 (Counsel for Plaintiff on next page)

                    14

                    15                            UNITED STATES DISTRICT COURT
                    16         CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
                    17

                    18 JENNIFER GONZALES, an individual,          Case No. 5:21-cv-00060-JGB-SHK
                    19               Plaintiff,                   STIPULATED PROTECTIVE ORDER
                    20         v.
                                                                  Complaint Filed: November 5, 2020
                    21
                       EYECARE SERVICES PARTNERS                  Trial Date: None Set
                                                                  District Judge:   Hon. Jesus G. Bernal
                    22 MANAGEMENT LLC, a California               Magistrate Judge: Hon. Shashi H.
                       Corporation; and DOES 1 through 25,        Kewalramani
                    23 Inclusive,

                    24               Defendants.
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                         Attorneys for Plaintiff
                     7   Jennifer Gonzales
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                                                                1           Case No. 5:21-cv-00060-JGB-SHK
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                     1         1.     A. PURPOSES AND LIMITATIONS
                     2         Discovery in this action is likely to involve production of confidential,
                     3   proprietary, or private information for which special protection from public disclosure
                     4   and from use for any purpose other than prosecuting this litigation may be warranted.
                     5   Accordingly, the parties hereby stipulate to and petition the Court to enter the
                     6   following Stipulated Protective Order. The parties acknowledge that this Order does
                     7 not confer blanket protections on all disclosures or responses to discovery and that the

                     8 protection it affords from public disclosure and use extends only to the limited

                     9 information or items that are entitled to confidential treatment under the applicable

                    10 legal principles. The parties further acknowledge, as set forth in Section 12.3, below,

                    11 that this Stipulated Protective Order does not entitle them to file confidential

                    12 information under seal; Civil Local Rule 79-5 sets forth the procedures that must be

                    13 followed and the standards that will be applied when a party seeks permission from

                    14 the court to file material under seal.

                    15                B. GOOD CAUSE STATEMENT
                    16         This action is likely to involve trade secrets, customer lists, confidential medical
                    17   information, confidential third-party information, and other valuable commercial,
                    18   financial, and/or proprietary information for which special protection from public
                    19   disclosure and from use for any purpose other than prosecution of this action is
                    20   warranted. Such confidential and proprietary materials and information consist of,
                    21   among other things, confidential business or financial information, information
                    22   regarding confidential business practices, or other confidential commercial
                    23   information (including information implicating privacy rights of third parties),
                    24   information otherwise generally unavailable to the public, or which may be privileged
                    25   or otherwise protected from disclosure under state or federal statutes, court rules, case
                    26   decisions, or common law. Accordingly, to expedite the flow of information, to
                    27   facilitate the prompt resolution of disputes over confidentiality of discovery materials,
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                    28   to adequately protect information the parties are entitled to keep confidential, to ensure
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                     1   that the parties are permitted reasonable necessary uses of such material in preparation
                     2 for and in the conduct of trial, to address their handling at the end of the litigation, and

                     3 serve the ends of justice, a protective order for such information is justified in this

                     4 matter. It is the intent of the parties that information will not be designated as

                     5 confidential for tactical reasons and that nothing be so designated without a good faith

                     6 belief that it has been maintained in a confidential, non-public manner, and there is

                     7 good cause why it should not be part of the public record of this case.

                     8 2.       DEFINITIONS
                     9          2.1    Action: Jennifer Gonzales v. Eyecare Services Partners
                    10   Management LLC, et al., Case No. 5:21-cv-00060-JGB-SHK .
                    11          2.2    Challenging Party: a Party or Non-Party that challenges the
                    12   designation of information or items under this Order.
                    13          2.3 “CONFIDENTIAL” Information or Items: information (regardless of how
                    14   it is generated, stored or maintained) or tangible things that qualify for protection under
                    15   Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
                    16   Statement.
                    17          2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
                    18   their support staff).
                    19          2.5    Designating Party: a Party or Non-Party that designates information or
                    20   items that it produces in disclosures or in responses to discovery as
                    21   “CONFIDENTIAL.”
                    22          2.6    Disclosure or Discovery Material: all items or information, regardless
                    23   of the medium or manner in which it is generated, stored, or maintained (including,
                    24   among other things, testimony, transcripts, and tangible things), that are produced or
                    25   generated in disclosures or responses to discovery in this matter.
                    26          2.7    Expert: a person with specialized knowledge or experience in a matter
                    27   pertinent to the litigation who has been retained by a Party or its counsel to serve as
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                    28   an expert witness or as a consultant in this Action.
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                     1         2.8    House Counsel: attorneys who are employees of a party to this Action.
                     2   House Counsel does not include Outside Counsel of Record or any other outside
                     3   counsel.
                     4         2.9    Non-Party: any natural person, partnership, corporation, association, or
                     5   other legal entity not named as a Party to this action.
                     6         2.10 Outside Counsel of Record: attorneys who are not employees of a party to
                     7   this Action but are retained to represent or advise a party to this Action and have
                     8   appeared in this Action on behalf of that party or are affiliated with a law firm which
                     9   has appeared on behalf of that party, and includes support staff.
                    10         2.11 Party: any party to this Action, including all of its officers, directors,
                    11   employees, consultants, retained experts, and Outside Counsel of Record (and their
                    12   support staffs).
                    13         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
                    14   Discovery Material in this Action.
                    15         2.13 Professional Vendors: persons or entities that provide litigation support
                    16   services (e.g., photocopying, videotaping, translating, preparing exhibits or
                    17   demonstrations, and organizing, storing, or retrieving data in any form or medium) and
                    18   their employees and subcontractors.
                    19         2.14 Protected Material: any Disclosure or Discovery Material that is designated
                    20   as “CONFIDENTIAL.”
                    21         2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
                    22   from a Producing Party.
                    23   3.    SCOPE
                    24         The protections conferred by this Stipulation and Order cover not only Protected
                    25   Material (as defined above), but also (1) any information copied or extracted from
                    26   Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
                    27   Material; and (3) any testimony, conversations, or presentations by Parties or their
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                    28   Counsel that might reveal Protected Material.
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                     1         Any use of Protected Material at trial shall be governed by the orders of the trial
                     2   judge. This Order does not govern the use of Protected Material at trial.
                     3   4.    DURATION
                     4          Even after final disposition of this litigation, the confidentiality obligations
                     5   imposed by this Order shall remain in effect until a Designating Party agrees otherwise
                     6   in writing or a court order otherwise directs. Final disposition shall be deemed to be
                     7   the later of (1) dismissal of all claims and defenses in this Action, with or without
                     8   prejudice; and (2) final judgment herein after the completion and exhaustion of all
                     9   appeals, rehearings, remands, trials, or reviews of this Action, including the time limits
                    10   for filing any motions or applications for extension of time pursuant to applicable law.
                    11   5.    DESIGNATING PROTECTED MATERIAL
                    12         5.1     Exercise of Restraint and Care in Designating Material for Protection.
                    13   Each Party or Non-Party that designates information or items for protection under this
                    14   Order must take care to limit any such designation to specific material that qualifies
                    15   under the appropriate standards. The Designating Party must designate for protection
                    16   only those parts of material, documents, items, or oral or written communications that
                    17   qualify so that other portions of the material, documents, items, or communications
                    18   for which protection is not warranted are not swept unjustifiably within the ambit of
                    19   this Order.
                    20         Mass, indiscriminate, or routinized designations are prohibited. Designations
                    21   that are shown to be clearly unjustified or that have been made for an improper purpose
                    22 (e.g., to unnecessarily encumber the case development process or to impose

                    23 unnecessary expenses and burdens on other parties) may expose the Designating Party

                    24 to sanctions.

                    25         If it comes to a Designating Party’s attention that information or items that it
                    26 designated for protection do not qualify for protection, that Designating Party must

                    27 promptly notify all other Parties that it is withdrawing the inapplicable designation.
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                     1         5.2        Manner and Timing of Designations. Except as otherwise provided in
                     2   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
                     3   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
                     4   under this Order must be clearly so designated before the material is disclosed or
                     5 produced.

                     6         Designation in conformity with this Order requires:
                     7               (a) for information in documentary form (e.g., paper or electronic
                     8   documents, but excluding transcripts of depositions or other pretrial or trial
                     9   proceedings), that the Producing Party affix at a minimum, the legend
                    10   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
                    11   contains protected material. If only a portion or portions of the material on a page
                    12   qualifies for protection, the Producing Party also must clearly identify the protected
                    13   portion(s) (e.g., by making appropriate markings in the margins).
                    14               A Party or Non-Party that makes original documents available for inspection
                    15 need not designate them for protection until after the inspecting Party has indicated

                    16 which documents it would like copied and produced. During the inspection and before

                    17 the designation, all of the material made available for inspection shall be deemed

                    18   “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
                    19   copied and produced, the Producing Party must determine which documents, or
                    20   portions thereof, qualify for protection under this Order. Then, before producing the
                    21   specified documents, the Producing Party must affix the “CONFIDENTIAL legend”
                    22   to each page that contains Protected Material. If only a portion or portions of the
                    23   material on a page qualifies for protection, the Producing Party also must clearly
                    24   identify the protected portion(s) (e.g., by making appropriate markings in the margins).
                    25               (b) for testimony given in depositions that the Designating Party identify
                    26 the Disclosure or Discovery Material on the record, before the close of the deposition

                    27 all protected testimony.
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                     1               (c) for information produced in some form other than documentary and for
                     2   any other tangible items, that the Producing Party affix in a prominent place on the
                     3   exterior of the container or containers in which the information is stored the legend
                     4   “CONFIDENTIAL.” If only a portion or portions of the information warrants
                     5   protection, the Producing Party, to the extent practicable, shall identify the protected
                     6   portion(s).
                     7         5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent
                     8   failure to designate qualified information or items does not, standing alone, waive the
                     9   Designating Party’s right to secure protection under this Order for such material. Upon
                    10   timely correction of a designation, the Receiving Party must make reasonable efforts
                    11   to assure that the material is treated in accordance with the provisions of this Order.
                    12 6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
                    13         6.1 Timing of Challenges. Any Party or Non-Party may challenge a
                    14   designation of confidentiality at any time that is consistent with the Court’s
                    15   Scheduling Order.
                    16         6.2 Meet and Confer. The Challenging Party shall initiate the dispute
                    17   resolution process under Local Rule 37.1 et seq.
                    18         6.3     The burden of persuasion and moving party in any such challenge
                    19   proceeding shall be on the Designating Party. Frivolous challenges, and those made
                    20   for an improper purpose (e.g., to harass or impose unnecessary expenses and burdens
                    21   on other parties) may expose the Challenging Party to sanctions. Unless the
                    22   Designating Party has waived or withdrawn the confidentiality designation, all
                    23   parties shall continue to afford the material in question the level of protection to
                    24   which it is entitled under the Producing Party’s designation until the Court rules on
                    25   the challenge.
                    26   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
                    27         7.1     Basic Principles. A Receiving Party may use Protected Material that is
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                    28   disclosed or produced by another Party or by a Non-Party in connection with this
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                     1   Action only for prosecuting, defending, or attempting to settle this Action. Such
                     2 Protected Material may be disclosed only to the categories of persons and under the

                     3 conditions described in this Order. When the Action has been terminated, a Receiving

                     4 Party must comply with the provisions of section 13 below (FINAL DISPOSITION).

                     5         Protected Material must be stored and maintained by a Receiving Party at a
                     6 location and in a secure manner that ensures that access is limited to the persons

                     7 authorized under this Order.

                     8         7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless
                     9   otherwise ordered by the court or permitted in writing by the Designating Party, a
                    10 Receiving        Party    may     disclose    any    information   or   item   designated
                    11 “CONFIDENTIAL” only to:

                    12               (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
                    13 as employees of said Outside Counsel of Record to whom it is reasonably necessary

                    14 to disclose the information for this Action;

                    15               (b) the officers, directors, and employees (including House Counsel) of the
                    16 Receiving Party to whom disclosure is reasonably necessary for this Action;

                    17               (c) Experts (as defined in this Order) of the Receiving Party to whom
                    18 disclosure is reasonably necessary for this Action and who have signed the

                    19 “Acknowledgment and Agreement to Be Bound” (Exhibit A);

                    20               (d) the court and its personnel;
                    21               (e) court reporters and their staff;
                    22               (f) professional jury or trial consultants, mock jurors, and Professional
                    23   Vendors to whom disclosure is reasonably necessary for this Action and who have
                    24   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                    25               (g) the author or recipient of a document containing the information or a
                    26   custodian or other person who otherwise possessed or knew the information;
                    27               (h) during their depositions, witnesses ,and attorneys for witnesses, in the
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                    28   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
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                     1   requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they will
                     2   not be permitted to keep any confidential information unless they sign the
                     3   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise agreed
                     4   by the Designating Party or ordered by the court. Pages of transcribed deposition
                     5   testimony or exhibits to depositions that reveal Protected Material may be separately
                     6 bound by the court reporter and may not be disclosed to anyone except as permitted

                     7   under this Stipulated Protective Order; and
                     8            (i) any mediator or settlement officer, and their supporting personnel,
                     9   mutually agreed upon by any of the parties engaged in settlement discussions.
                    10

                    11   8. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
                    12   OTHER LITIGATION
                    13         If a Party is served with a subpoena or a court order issued in other litigation
                    14   that compels disclosure of any information or items designated in this Action as
                    15   “CONFIDENTIAL,” that Party must:
                    16             (a) promptly notify in writing the Designating Party. Such notification shall
                    17   include a copy of the subpoena or court order;
                    18             (b) promptly notify in writing the party who caused the subpoena or order
                    19   to issue in the other litigation that some or all of the material covered by the subpoena
                    20   or order is subject to this Protective Order. Such notification shall include a copy of
                    21   this Stipulated Protective Order; and
                    22             (c) cooperate with respect to all reasonable procedures sought to be pursued
                    23   by the Designating Party whose Protected Material may be affected.
                    24         If the Designating Party timely seeks a protective order, the Party served with
                    25   the subpoena or court order shall not produce any information designated in this action
                    26   as “CONFIDENTIAL” before a determination by the court from which the subpoena
                    27   or order issued, unless the Party has obtained the Designating Party’s permission. The
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                    28   Designating Party shall bear the burden and expense of seeking protection in that court
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                     1   of its confidential material and nothing in these provisions should be construed as
                     2   authorizing or encouraging a Receiving Party in this Action to disobey a lawful
                     3   directive from another court.
                     4   9.    A    NON-PARTY’S          PROTECTED         MATERIAL       SOUGHT        TO    BE
                     5   PRODUCED IN THIS LITIGATION
                     6             (a) The terms of this Order are applicable to information produced by a
                     7   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
                     8   produced by Non-Parties in connection with this litigation is protected by the
                     9   remedies and relief provided by this Order. Nothing in these provisions should be
                    10   construed as prohibiting a Non-Party from seeking additional protections.
                    11             (b) In the event that a Party is required, by a valid discovery request, to
                    12   produce a Non-Party’s confidential information in its possession, and the Party is
                    13   subject to an agreement with the Non-Party not to produce the Non-Party’s
                    14   confidential information, then the Party shall:
                    15                 (1) promptly notify in writing the Requesting Party and the Non-Party
                    16 that some or all of the information requested is subject to a confidentiality agreement

                    17 with a Non-Party;

                    18                 (2) promptly provide the Non-Party with a copy of the Stipulated
                    19 Protective Order in this Action, the relevant discovery request(s), and a reasonably

                    20 specific description of the information requested; and

                    21                 (3) make the information requested available for inspection by the Non-
                    22 Party, if requested.

                    23             (c) If the Non-Party fails to seek a protective order from this court within 14
                    24   days of receiving the notice and accompanying information, the Receiving Party may
                    25   produce the Non-Party’s confidential information responsive to the discovery request.
                    26   If the Non-Party timely seeks a protective order, the Receiving Party shall not produce
                    27   any information in its possession or control that is subject to the confidentiality
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                    28   agreement with the Non-Party before a determination by the court. Absent a court
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                     1   order to the contrary, the Non-Party shall bear the burden and expense of seeking
                     2   protection in this court of its Protected Material.
                     3   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                     4         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
                     5   Protected Material to any person or in any circumstance not authorized under this
                     6   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
                     7   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
                     8   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
                     9   persons to whom unauthorized disclosures were made of all the terms of this Order,
                    10   and (d) request such person or persons to execute the “Acknowledgment and
                    11   Agreement to Be Bound” that is attached hereto as Exhibit A.
                    12   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                    13   PROTECTED MATERIAL
                    14         When a Producing Party gives notice to Receiving Parties that certain
                    15   inadvertently produced material is subject to a claim of privilege or other protection,
                    16   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
                    17   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
                    18   may be established in an e-discovery order that provides for production without prior
                    19   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
                    20   parties reach an agreement on the effect of disclosure of a communication or
                    21   information covered by the attorney-client privilege or work product protection, the
                    22   parties may incorporate their agreement in the stipulated protective order submitted to
                    23   the court.
                    24   12.   MISCELLANEOUS
                    25         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
                    26   person to seek its modification by the Court in the future.
                    27         12.2 Right to Assert Other Objections. By stipulating to the entry of this
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                    28   Protective Order no Party waives any right it otherwise would have to object to
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                     1   disclosing or producing any information or item on any ground not addressed in this
                     2   Stipulated Protective Order. Similarly, no Party waives any right to object on any
                     3   ground to use in evidence of any of the material covered by this Protective Order.
                     4         12.3 Filing Protected Material. A Party that seeks to file under seal any
                     5   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
                     6   only be filed under seal pursuant to a court order authorizing the sealing of the specific
                     7   Protected Material at issue. If a Party's request to file Protected Material under seal is
                     8   denied by the court, then the Receiving Party may file the information in the public
                     9   record unless otherwise instructed by the court.
                    10

                    11

                    12

                    13   13.   FINAL DISPOSITION
                    14         After the final disposition of this Action, as defined in paragraph 4, within 60
                    15   days of a written request by the Designating Party, each Receiving Party must return
                    16   all Protected Material to the Producing Party or destroy such material. As used in this
                    17   subdivision, “all Protected Material” includes all copies, abstracts, compilations,
                    18   summaries, and any other format reproducing or capturing any of the Protected
                    19   Material. Whether the Protected Material is returned or destroyed, the Receiving Party
                    20   must submit a written certification to the Producing Party (and, if not the same person
                    21   or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by
                    22   category, where appropriate) all the Protected Material that was returned or destroyed
                    23   and (2)affirms that the Receiving Party has not retained any copies, abstracts,
                    24   compilations, summaries or any other format reproducing or capturing any of the
                    25   Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
                    26   archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,
                    27   legal memoranda, correspondence, deposition and trial exhibits, expert reports,
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                    28   attorney work product, and consultant and expert work product, even if such materials

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                     1   contain Protected Material. Any such archival copies that contain or constitute
                     2   Protected Material remain subject to this Protective Order as set forth in Section 4
                     3   (DURATION).
                     4         14. Any violation of this Order may be punished by any and all appropriate
                     5 measures including, without limitation, contempt proceedings and/or monetary

                     6 sanctions.

                     7

                     8
                               IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                     9

                    10
                         Dated: September 22, 2021                      GRUENBERG LAW
                    11

                    12
                                                          By:    /s/ Daphne A.M. Delvaux
                    13                                           Josh D. Gruenberg, Esq.
                                                                 Daphne A.M. Delvaux, Esq.
                    14
                                                                 Pamela Vallero, Esq.
                    15                                           Attorneys for Plaintiff
                    16
                         Dated: September 22, 2021
                    17

                    18
                                                          By:    /s/ Natalie Hernandez Catahan
                    19                                           Christopher Olmsted, Esq.
                                                                 Natalie Hernandez Catahan
                    20
                                                                 Attorneys for Defendant
                    21

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                    23

                    24
                                                LOCAL RULE 5-4.3.4 ATTESTATION
                    25
                               I attest and certify that all other signatories listed, and on whose behalf this
                    26
                         filing is submitted, concur in the filing’s content and have authorized the filing.
                    27
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                                                              13          Case No. 5:21-cv-00060-JGB-SHK
                                                 STIPULATED PROTECTIVE ORDER
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                     1   DATED: August 20, 2021          /s/ Natalie Hernandez Catahan
                     2                                      Natalie Hernandez Catahan

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                     7
                         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

                     8            09/22/2021
                         DATED: ______________
                     9

                    10 _______________________________
                    11 Shashi H. Kewalramani
                       United States Magistrate Judge
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                     1
                                                              EXHIBIT A
                     2
                                      ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                     3
                         I,                                        [print or type full name], of
                     4
                          __________________ [print or type full address], declare under penalty of perjury
                     5
                         that I have read in its entirety and understand the Stipulated Protective Order that was
                     6
                         issued by the United States District Court for the Central District of California
                     7
                         on [date] in the case of Jennifer Gonzales v. Eyecare Services Partners Management
                     8
                         LLC, et al., Case No. 5:21-cv-00060-JGB-SHK. I agree to comply with and to be
                     9
                         bound by all the terms of this Stipulated Protective Order and I understand and
                    10
                         acknowledge that failure to so comply could expose me to sanctions and punishment
                    11
                         in the nature of contempt. I solemnly promise that I will not disclose in any manner
                    12
                         any information or item that is subject to this Stipulated Protective Order to any person
                    13
                         or entity except in strict compliance with the provisions of this Order.
                    14
                         I further agree to submit to the jurisdiction of the United States District Court for the
                    15
                         Central District of California for the purpose of enforcing the terms of this Stipulated
                    16
                         Protective Order, even if such enforcement proceedings occur after
                    17
                         termination of this action. I hereby appoint ___________________________ [print
                    18
                         or type full name] of ________________________________________ [print or type
                    19
                         full address and telephone number] as my California agent for service of process in
                    20
                         connection with this action or any proceedings related to enforcement of this
                    21
                         Stipulated Protective Order.
                    22
                         Date: _____________________________________
                    23
                         City and State where sworn and signed: ________________________________
                    24

                    25   Printed name:

                    26   Signature:
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                     1
                                                      PROOF OF SERVICE
                     2         Jennifer Gonzales v. Eyecare Services Partners Management LLC, et al.
                                                 Case No. 5:21-cv-00060-JGB-SHK
                     3
                              I am and was at all times herein mentioned over the age of 18 years and not a
                     4 party to the action in which this service is made. At all times herein mentioned I have
                       been employed in the County of Orange in the office of a member of the bar of this
                     5 court at whose direction the service was made. My business address is 695 Town
                       Center Drive, Suite 1500, Costa Mesa, CA 92626.
                     6
                               On September 22, 2021, I served the following document(s):
                     7
                                              STIPULATED PROTECTIVE ORDER
                     8
                         by placing ☐ (the original) ☒ (a true copy thereof) in a sealed envelope addressed as
                     9   follows:
                    10   ☐     BY MAIL: I placed the envelope for collection and mailing, following our
                               ordinary business practices. I am readily familiar with the practice of Ogletree,
                    11         Deakins, Nash, Smoak & Stewart P.C.’s practice for collecting and processing
                               correspondence for mailing. On the same day that correspondence is placed for
                    12         collection and mailing, it is deposited in the ordinary course of business with
                               the United States Postal Service, in a sealed envelope with postage fully prepaid.
                    13
                         ☐     BY MAIL: I deposited the sealed envelope with the United States Postal
                    14         Service, with the postage fully prepaid at Park Tower, Fifteenth Floor, 695
                               Town Center Drive, Costa Mesa, CA 92626.
                    15
                         ☐     BY OVERNIGHT DELIVERY: I placed the sealed envelope(s) or package(s)
                    16         designated by the express service carrier for collection and overnight delivery
                               by following the ordinary business practices of Ogletree, Deakins, Nash, Smoak
                    17         & Stewart P.C., Costa Mesa, California. I am readily familiar with Ogletree,
                               Deakins, Nash, Smoak & Stewart P.C.’s practice for collecting and processing
                    18         of correspondence for overnight delivery, said practice being that, in the
                               ordinary course of business, correspondence for overnight delivery is deposited
                    19         with delivery fees paid or provided for at the carrier’s express service offices
                               for next-day delivery.
                    20
                         ☐     BY MESSENGER SERVICE: (1) For a party represented by an attorney,
                    21         delivery was made to the attorney or at the attorney’s office by leaving the
                               documents in an envelope or package clearly labeled to identify the attorney
                    22         being served with a receptionist or an individual in charge of the office. (2) For
                               a party, delivery was made to the party or by leaving the documents at the
                    23         party’s residence with some person not less than 18 years of age between the
                               hours of eight in the morning and six in the evening.
                    24
                         ☐     BY FACSIMILE: by transmitting a facsimile transmission a copy of said
                    25         document(s) to the following addressee(s) at the following number(s), in
                               accordance with:
                    26
                                     ☐      the written confirmation of counsel in this action:
                    27               ☐      [Federal Court] the written confirmation of counsel in this action
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                                            and order of the court:
REDLINE
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                                                STIPULATED PROTECTIVE ORDER
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                     1   ☐    BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order
                              or an agreement of the parties to accept service by e-mail or electronic
                     2        transmission, I caused the documents to be sent to the person(s) at the e-mail
                              addresses listed on the attached service list. I did not receive, within a reasonable
                     3        time after the transmission, any electronic message
                     4   ☐    BY CM/ECF: With the Clerk of the United States District Court of California,
                              using the CM/ECF System. The Court’s CM/ECF System will send an e-mail
                     5        notification of the foregoing filing to the parties and counsel of record who are
                              registered with the Court’s CM/ECF System.
                     6
                         ☐    (Federal)    I declare that I am employed in the office of a member of the State
                     7                     Bar of this Court at whose direction the service was made. I
                                           declare under penalty of perjury under the laws of the United States
                     8                     of America that the above is true and correct.
                     9 ☐      (Federal)    I declare that I am a member of the State Bar of this Court at whose
                                           direction the service was made. I declare under penalty of perjury
                    10                     under the laws of the United States of America that the above is
                                           true and correct.
                    11
                              I declare under penalty of perjury under the laws of the United States of America
                    12 that the above is true and correct.

                    13
                              Executed on September 22, 2021, at Costa Mesa, California.
                    14

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                                                                       Lisa Hamusek
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                     1                               SERVICE LIST
                     2

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                         Pamela Vallero, Esq.                 Jennifer Gonzales
                     4   Daphne A.M. Delvaux, Esq.
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                     7   josh@gruenberglaw.com
                         pam@gruenberglaw.com
                     8   daphne@gruenberglaw.com
                         bianca@gruenberglaw.com
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